            Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 1 of 20

                                                            U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

       UNITED STATES OF AMERICA,                         CRIMINAL NO . 19-121 (SCC)
       Plaintiff,                                                                            Z_i i - :-
                                                                                 ^'
                                                                                              >c..                         ,y




                                                                                              ^;^
                                                                                              /" . ^-/.-^



                              V.
                                                                                                            c.
                                                                        A                                        -->(     f-,,

                                                                       §                                                ~'^,'.'~^,-
                                                                             /                                            •'-/s--' _


       [1] EMMANUEL PACHECO-MARIN,                                               "^


                                                                                                                         ^
                                                                       ?v;


       A/K/A "BEBO LAS PARC," A/K/A
                                                                                            :f.
                                                                        :^       '^^
                                                                                            ">^>.
                                                                             y                    /   ,-.
                                                                                                                                 ^-
       "MANUEL," A/K/A (<CABEZON"                                                            "^/ Lo,-.
                                                                                                  '" ^'^;
                                                                                 ^7
       Defendant.                                                                     ./>


                                                                                              ? !0 ^ '



                         PLEA AND FORFEITURE AGREEMENT

     TO THE HONORABLE COURT:

           The United States of America, Defendant, [1] EMMANUEL PACHECO-

     MARIN, A/K/A "BEBO LAS PARC," A/K/A "MANUEL," A/K/A

     <(CABEZON" and Defendant's counsel, Francisco ReboUo-Casalduc, Esq., pursuant
6^   to Federal Rule of Criminal Procedure 11, state that they have reached a Plea


     Agreement, the terms and conditions of which are as follows:


v       1. Charges to which Defendant will Plead Guilty

           Defendant agrees to plead guilty to Counts One and Six of the Indictment:


            Count One: of the Indictment charges that from in or about the year 2006, and


     continuing up to and until the return of the instant Indictment, in the Municipality of


     San Juan, District of Puerto Rico and within the jurisdiction of this Court, [1]

     EMMANUEL PACHECO-MARIN, A/K/A "BEBO LAS PARC," A/K/A

     <(MANUEL," A/K/A "CABEZON" and other persons, did knowingly and
     USAO-DPR-Plea Agreement Page | 1
            Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 2 of 20

                                                             U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




      intentionally, combine, conspire, and agree with each other and with diverse other


      persons known and unknown to the Grand Jury, to commit an offense against the

      United States, that is, to knowingly and intentionally possess with mtent to distribute


      and/or to distribute controlled substances, to wit: in excess of two hundred and eighty


      (280) grams of a mucture or substance containing a detectable amount of cocaine base


      (crack), a Schedule II Narcotic Drug ControUed Substance; in excess of one (1)

      kilogram of a mbcture or substance containing a detectable amount of herom, a


      Schedule I, Narcotic Drug Controlled Substance; in excess of five (5) kilograms of a

      mucture or substance containmg a detectable amount of cocaine, a Schedule II,


      Narcotic Drug ControUed Substance; in excess of one hundred (100) kilograms of a

      mbcture or substance containing a detectable amount of marijuana, a Schedule I,


      Controlled Substance; a mucture or substance containing a detectable amount of


      Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and

 ^
J ;t a mucture or substance containing a detectable amount of Alprazolam (commonly

^     known as Xanax), a Schedule IV Controlled Substance; withm one thousand (1,000)

      feet of a real property comprising the Villa Kennedy Public Housing Project, Las Casas


      Public Housing Project, El Mirador Public Housing Project, Las Margaritas Public

     .Housing Project, housing facilities owned ;by a public housing authority and within

      one thousand (1,000) feet' of a real property comprising a public or private school


      and/or playground. AU in violation of Title 21, United States Code Sections 841(a)(l),

      846 and 860.
      USAO-DPR-Plea Agreement Page | 2
              Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 3 of 20

                                                                  U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




               Count Sue: of the Indictment charges that from m or about the year 2006, and


        continuing up to and until the return of the mstant Indictment, in the Municipality of


        San Juan, District of Puerto Rico and within the jurisdiction of this Court, [1]

        EMMANUEL PACHECO-MARIN, A/K/A <(BEBO LAS PARC," A/K/A

        <(MANUEL,)> A/K/A "CABEZON" together with others charged in Count Sbc, did

        knowingly and unlawfully possess firearms, of unknown make and caliber, as that


        term is defmed in Title 18, United States Code, Section 921(a)(3), in furtherance of a

        drug trafficking crime for which they may be prosecuted in a Court of the United

^2     ^      ...     „     „    ....       ,_.-         ...     ......               ..
        States, as charged in Counts One (1) through Five (5) of the instant Indictment. AU in

        violation of Title 18, United States Code, § 924(c)(l)(A).

           2. IVIaximum Penalties


               Count One: The penalty for the offense charged in Count One of the Indictment is


        a term of imprisonment which shall not be less than ten (10) years and up to two (2) terms


^N\ of life, a fine not to exceed twenty million dollars ($20,000,000.00) and a term of


        supervised release of not less than ten (10) years in addition to any term of incarceration,


        pursuant to Title 21, United States Code, §§ 841(b)(l)(A), 846, and 860.

               However, based on the stipulated and agreed amount of narcotics possessed by


        the defendant, that;lis, at least 3.5 kilograms but less than 5 kilograms of cocaine, the


        defendant faces a minimum term of imprisonment of five (5) years up to a maximum


        term of eighty (80) years, a fine not to exceed ten million dollars ($10,000,000.00), and

        a term of supervised release of at least eight (8) years in addition to any term of
        USAO-DPR-Plea Agreement , Page | 3
               Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 4 of 20

                                                                U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




         incarceration, pursuant to Title 21, United States Code, 841(b)(l)(C), 846, and 860.

               Count Sbc: The statutory penalty for the offense charged in Count Sbc of the

         Indictment, is a term of imprisonment of not less than 5 years nor more than life in


         prison pursuant to 18 U.S.C. § 924(c); a fme not to exceed $250,000; and a supervised


         release term of not more than five years, pursuant to 18 U.S.C. § 3583(b)(l).


            3. Sentencing Guidelines Applicability

               Defendant understands that the sentence will be imposed by the Court in


         accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines

<\\L     (hereinafter "Guidelines"), which are advisory pursuant to the United States Supreme


         Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant


         acknowledges that parole has been abolished, and that the imposition of Defendant's


         sentence may not be suspended.


            4. Special Monetary Assessment


               Defendant agrees to pay a special monetary assessment ("SMA") of one


^j hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

         Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

            5. Fines and Restitution


   .'? The Court may, pursuant to Section 5E 1.2 of the Guidelines order Defendant


         to pay a fine. The Court may also impose restitution. Defendant agrees to execute

         and make available, prior to sentencing, a standardized financial statement (OBD



         USAO-DPR-Plea Agreement Page | 4
           Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 5 of 20

                                                           U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




    Form 500). The United States will advocate on behalf of any identified victim and

    comply with its obligations under the Mandatory Victim Restitution Act of 1996.

       6. Sentence to be Determined by the Court


           Defendant understands that the sentence to be imposed will be determined


    solely by the United States District Judge. The United States cannot make and has not


    made any promise or representation as to what sentence Defendant will receive. Any

    discussions that the parties might have had about possible sentences are not binding in

L   any way on the Court, and do not constitute representations about what the parties


    will seek, or what the actual sentence will be.


       7. Recommended Sentencing Guidelines Calculations


           After due consideration of the relevant factors enumerated in 18 U.S.C. §


    3553(a), the United States and Defendant submit that the advisory Guidelines

    calculations listed below apply to Defendant. However, Defendant acknowledges that


    the Court is not required to accept those recommended Guidelines calculations.

^
^
                     SENTENCING GUIDELINES CALCULATIONS
                                 COUNT ONE
                              21U.S.C. §§ 841(a)(l), 846 and 860
     Base Ofifense Level pursuant to U.S.S.G. § 2Dl.l(c)(6)
                                                                                          28
     Protected Location U.S.S.G. § 2D1.2(a)(l)
                                                                                         +2
     Leadership U.S.S.G. § 3Bl.l(b)
                                                                                         +4
     Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1                            '-3

     TOTAL ADJUSTED OFFENSE LEVEL
                                                                                          31


    USAO-DPR-Plea Agreement                                                                      Page | 5
           Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 6 of 20

                                                             U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




                     SENTENCING GUIDELINES CALCULATIONS
                                 COUNT ONE
                               21U.S.C. §§ 841(a)(l), 846 and 860
      CH Cat. I    CH Cat. 11    CH Cat. Ill    CH Cat. IV         CH Cat. V            CH Cat. VI

       108-135       121-151       135-168        151-188            168-210               188-235


           As to Count Sbc, the United States and Defendant submit that pursuant to


     United States Sentencing Guidelines § 2K2.4(b), a defendant that is convicted of

     violating 18 U.S.C. § 924 (c)(l)(A), has a guideline sentence equal to the minimum

     term of imprisonment required by statute. In the present case, pursuant to 18 U.S.C.


     § 924(c)(l)(A)(i), there is a minimum term of imprisonment of sixty (60) months.

        8. Sentence Recommendation


           As to Count One, and after due consideration of the relevant factors enumerated


     in 18 U.S.C. § 3553(a), the parties agree to jointly recommend 156 months of



^
,^
     imprisonment regardless of Defendant's crimmal history category. As to Count Six,




/
     the parties agree to jointly recommend 60 months and that the two sentences run


     consecutively to one another. In other words, the parties agree to jointly recommend


     216 months of incarceration for this case regardless of Defendant's criminal history


     category. The parties agree that any recommendation by either party for a term of

     imprisonment below or above the stipulated sentence recommendation will constitute


     a material breach of the Plea Agreement.
                                                      t


           The parties agree that federal conviction m criminal case number 09-232 (ADC)


     is relevant conduct to the instant case. The parties also agree that Puerto Rico cases

     USAO-DPR-Plea Agreement Page | 6
                Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 7 of 20

                                                                   U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




          FFJ10Q0007, FLA10G0287 and FLA10G0286 are relevant conduct to the instant

          case. The parties understand that the Court cannot sentence Defendant to less than


          10 years given the statutory minimums.


             9. No Stipulation as to Criminal History Category


                The parties do not stipulate as to any Crimmal History Category for Defendant.


             10. Waiver of Appeal

                Defendant knowingly and voluntarily agrees that, if the imprisonment sentence


          imposed by the Court is 216 months or less, Defendant waives the right to appeal any
/\
          aspect of this case's judgment and sentence, including, but not limited to the term of


          imprisonment or probation, restitution, fines, forfeiture, and the term and conditions


          of supervised release.
     \
     ^ 11.No Further Adjustments or Departures


                The United States and Defendant agree that no further adjustments or


          departures to Defendant's total adjusted base offense level and no variant sentence


          under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea


          Agreement—shall be sought by Defendant. The parties agree that any request by


          Defendant for an adjustment or departure that is not explicitly provided for in this Plea

          Agreement will be considered a material breach of this Plea Agreement, and the


          United States will be free to ask for any sentence, either guideline or statutory.


             12. Satisfaction with Counsel



          USAO-DPR-Plea Agreement Page | 7
             Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 8 of 20

                                                                U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




             Defendant is satisfied with counsel, Francisco Rebollo-Casalduc, Esq., and


       asserts that counsel has rendered effective legal assistance.


          13. Rights Surrendered by Defendant Through Guilty Plea

             Defendant understands that by entering into this Plea Agreement, Defendant


       surrenders and waives certain rights as detailed in this agreement. Defendant


       understands that the rights of criminal defendants include the foUowmg:


                 a. If Defendant had persisted in a plea of not guilty to the charges,
                    Defendant would have had the right to a speedy jury trial with the
                    assistance of counsel. The trial may be conducted by a judge sitting
                    without a jury if Defendant, the United States and the judge agree.


                 b. If a jury trial is conducted, the jury would be composed of twelve lay
                     persons selected at random. Defendant and Defendant's attorney would
                    assist in selectmg the jurors by removing prospective jurors for cause
                    where actual bias or other disqualification is shown, or by removing
                    prospective jurors without cause by exercismg peremptory challenges.
                    The jury would have to agree, unanimously, before it could return a
                    verdict of either guilty or not guilty. The jury would be instructed that
 ^ Defendant is presumed innocent, that it could not convict Defendant
. ^- unless, after hearing all the evidence, it was persuaded of Defendant's
                    guilt beyond a reasonable doubt, and that it was to consider each charge
                    separately.


                 c. If a trial is held by the judge without a jury, the judge would find the facts
                    and, after hearing all the evidence and considering each count separately,
                    determme whether or not the evidence established Defendant's guilt
                    beyond a reasonable doubt.


                 d. Ati a trial, the United States would be required to present its witnesses
                     and other evidence against Defendant. Defendant would be able to
                    confront those witnesses and Defendant's attorney would be able to
                    cross-examine them. In turn, Defendant could present witnesses and
                    other evidence on Defendant's own behalf. If the witnesses for Defendant
                    would not appear voluntarily, Defendant could require their attendance
                    through the subpoena power of the Court.
       USAO-DPR-Plea Agreement Page | 8
              Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 9 of 20

                                                                 U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




                  e. At a trial, Defendant could rely on the privilege against self-incrimination
                      to decline to testify, and no inference of guilt could be drawn from
                      Defendant's refusal to testify. If Defendant desired to do so, Defendant
                      could testify on Defendant's own behalf.


           14. Stipulation of Facts

              The accompanying Stipulation of Facts signed by Defendant is hereby

        incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and


        agrees that the facts therein are accurate in every respect. Defendant agrees and accepts

        that had the matter proceeded to trial, the United States would have proven those facts


        beyond a reasonable doubt.

/^         15.Limitations of Plea Agreement
\!
 .J




               This Plea Agreement binds only the United States Attorney's Office for the

        District of Puerto Rico and Defendant. It does not bind any other federal district, state,


 ^ or local authorities.


           16.Entirety of Plea Agreement


              This written agreement constitutes the complete Plea Agreement between the

        United States, Defendant, and Defendant's counsel'. The United States has made no


        promises or representations except as set forth in writing in this Plea Agreement and


        denies the existence of any other terms and conditions not stated herein.


           17.Amendments to Plea Agreement.


              No other promises, terms or conditions will be entered into between the parties


        unless they are in writing and signed by all parties.
        USAO-DPR-Plea Agreement Page | 9
      Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 10 of 20

                                                        U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




   18.Dismissal of Remaining Counts


      At sentencmg should there be any pending counts and should the Defendant


comply with the terms of this Plea Agreement, the United States will move to dismiss


the remainmg counts of the Indictment pending against Defendant in this case.


   19.Vohmtarmess of Plea Agreement


      Defendant acknowledges that no threats have been made against Defendant and


that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

   20. Package Plea Provision


      Defendant is fuUy aware that this is a package plea agreement, that is, a Plea


Agreement conditioned upon the guilty plea of co-defendants [2] VLADIMIR

NATERA-ABREU, [4] JESUS J. RIVERA-FIGUEROA, [5] JOSE L. GARCIA-

LOPEZ, [6] LUIS A. GARCIA-LOPEZ, [7] ELVIN 0. CRUZ-VERGES and, from

case 19-124, defendants [1] EDISON MERCED-OLIVERA and [2] WALDEMAR

FEBRES-SANCHEZ.

      Defendant certifies that Defendant is not entering into this guilty plea because


of threats or pressures from any co-defendant, fi-om any defendant in case 19-124 or


from any other person or entity. Pursuant to United States v. Martinez-Molina, 64 F. 3 d


719 (1st Cir. 1995), package plea agreements require that the District Court be alerted

to the fact that co-defendants are entering a package deal so that the District Court can


carefuUy ascertain the voluntariness of each defendant's plea. The parties further agree

that should any of the co-defendants or any defendant in case 19-124 withdraw the
USAO-DPR-Plea Agreement Page | 10
                   Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 11 of 20

                                                                     U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




             guilty plea, the United States reserves its right to withdraw from its obligations under

             the package plea agreement in its entirety.


                 21. Breach and Waiver


                    Defendant agrees that defendant will have breached this Plea Agreement if,


             after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill


             completely each and every one of Defendant's obligations under this Plea Agreement;


             (b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw

    , ^ t--7 Defendant's guilty plea. In the event of such a breach, the United States will be free
    /"\


/
:.
             from its obligation under this Plea Agreement and Defendant will not have the right

             to withdraw the guilty plea. IMoreover, Defendant agrees that if Defendant is in


             breach of the Plea Agreement, Defendant is deemed to have waived any objection to



    ^        the reinstatement of any charges under the Indictment, Information, or complaint


7' '; which may have previously been dismissed or which may have not been previously


             prosecuted.


                 22. Potential Impact on Immigration Status


                    Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(0), Defendant hereby

             agrees and recognizes that if convicted, a Defendant who is not a United States citizen

             may be removed from the United States, denied citizenship, and denied admission to


             the United States m the future. .,


                 23.Felony Conviction



             USAO-DPR-Plea Agreement Page | 11
                Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 12 of 20

                                                                      U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




                Defendant hereby agrees and recognizes that the plea of guilty in this case will


          be recognized as a felony conviction, which will result in the loss of certain rights,


          including but not limited to the right to vote in a federal election, to serve as a juror,


          to hold public office, and to lawfully possess a firearm.


             24. Firearms and Ammunition Forfeiture


                Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to

          forfeit Defendant's rights and interest in any firearms and ammunition involved or


          used in the commission of the offense.


^'           25. Forfeiture Provision


                Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United


          States any drug proceeds or substitute assets for that amount, which constitutes or is

     ^    derived from proceeds generated or traceable to the drug traffickmg offense in violation


\J of 21 U.S.C. §§841, 846 and 860. Further, defendant shall forfeit to the United States

          any property constituting, or derived from, proceeds obtained, directly or indirectly,


          as a result of said violations and any property used, or intended to be used, in any


          manner or part, to commit, or to facilitate the commission of the said violations up to


          the amount stated above. The defendant agrees to identify all assets over which the


          defendant exercises or exercised contTol, directly or indirectly, within the past three


          years, or in which the defendant has or had during that time any fmancial interest. The


          defendant agrees to take all steps as requested by the United States to obtain from any



          USAO-DPR-Plea Agreement Page] 12
              Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 13 of 20

                                                                  U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




        other parties by any lawful means any records of assets owned at any time by the

        defendant. Defendant agrees to forfeit to the United States all of the defendant's


        interests in any asset of a value of more than $1,000 that, within the last three years,


        the defendant owned, or in which the defendant maintained an interest, the ownership


        of which the defendant fails to disclose to the United States in accordance with this

        agreement.


               The defendant further agrees to waive aU interest in any such asset in any

        administrative or judicial forfeiture proceeding, whether criminal or civil, state or


        federal. The defendant agrees to consent to the entry of orders of forfeiture for such

11,     property and waives the requirements of Federal Rules of Crimmal Procedure 32.2


        and 43 (a) regarding notice of the forfeiture m the chargmg instrument, announcement


 V of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

        Defendant acknowledges that he understands that the forfeiture of assets is part of the

\J      sentence that may be imposed in this case and waives any failure by the court to advise


        him of this, pursuant to Rule 1 l(b)(l)(J), at the time his guilty plea is accepted.

               The defendant further agrees to waive all statutory challenges in any manner


        (mcluding direct appeal, habeas corpus, or any other means) to any forfeiture carried


        out in accordance with this Plea Agreement on any grounds, includmg that the


        forfeiture constitutes an excessive fme or punishment. The defendant agrees to take all

        steps as requested by the United States to pass clear title to forfeitable assets to the


        United States, and to testify truthfuUy in any judicial forfeiture proceeding. Defendant
        USAO-DPR-Plea Agreement Page | 13
           Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 14 of 20

                                                          U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




     acknowledges that all property covered by this agreement is subject to forfeiture as


     proceeds of illegal conduct, giving rise to forfeiture and/or substitute assets for


     property otherwise subject to forfeiture.




^;


                       THIS SPACE INTENTIONALLY LEFT BLANK

               PLEA AGREEMENT CONTINUES ON FOLLOWING PAGE




     USAO-DPR-Plea Agreement                                                                   Page| 14
      Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 15 of 20

                                                         US. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




      Defendant, by agreeing to the forfeiture stated above, acknowledges that such


forfeiture in not grossly disproportional to the gravity of the offense conduct to which


defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and will, survive him, notwithstanding the abatement of


any underlying criminal conviction after the execution of this agreement. The


forfeitability of any particular property pursuant to this agreement shall be determined

as if Defendant had survived, and that determmation shall be binding upon


Defendant's heirs, successors and assigns until the agreed forfeiture, mcluding any


agreed money judgment amount, is collected in full.

W. STEPHEN MULDROW
United States Attorney



^2^^ ^^^^^-
Alberto R. Lopez Rocafbrt J Francisco ^-ebollo-Casalduc
Assistant U.S. Attorney ' Counsel for Defendant
Chief, Gang Section i Dated: <9 - 9 - '2-z-
Dated: ^/^//^oyt- \




   :-^tu^
Joseph Russell Emmanuel Pacheco-Marm
Assistant U.S. Attorney Defendant
Gang Section _ Dated: 6> - 9 - ^—
Dated: !^ ^-'< ^ t; ^




USAO-DPR-Plea Agreement Page | 15
      Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 16 of 20

                                                       U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




                        UNDERSTANDING OF RIGHTS
      I have consulted with counsel and fully understand all of my rights as to the


charges pending against me. Further, I have consulted with my attorney and fully


understand my rights as to the provisions of the Guidelines that may apply in my case.


I have read this Plea Agreement and carefully reviewed every part of it with my


attorney. My counsel has translated the Plea Agreement to me in the Spanish


language and I have no doubts as to the contents of the agreement. I fully understand


this agreement and voluntarily agree to it. /\ //'

Date: ^-^ -7^
                                               Emmanuel Pacheco-Marin
                                               Defendant


      I am the attorney for Defendant. I have fully explained Defendant's rights to


Defendant with respect to the pending charges. Further, I have reviewed the applicable


provisions of the Guidelines and I have fully explained to Defendant the provisions of

those Guidelines that may apply in this case. I have carefully reviewed every part of


this Plea Agreement with Defendant. I have translated the Plea Agreement and


explained it in the Spanish language to the Defendant who has expressed having no


doubts as to the contents of the agreement. To my knowledge, Defendant is entering


into this Plea Agreement voluntarily, intelligently, and with full knowledge of aU

consequences of Defendant's plea of guilty/^

      Date^-'l -7-^
                                               Ifrancisco Rebollo-Casalduc
                                               (counsel for Defendant

USAO-DPR-Plea Agreement Page] 16
               Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 17 of 20

                                                                  U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




                                      STIPULATION OF FACTS
                In conjunction with the submission of the accompanying Plea Agreement in


         this case, the Defendant, [1] EMMANUEL PACHECO-MARIN, A/K/A "BEBO

         LAS PARC," A/K/A "MANUEL," A/K/A (<CABEZON?) admits that Defendant

         is guilty as charged in the Indictment and admits the following:

                From in or about the year 2006, and continuing up to and until the return of the


         instant Indictment, in the Municipality of San Juan, District of Puerto Rico and within


         the jurisdiction of this Court, [1] EMMANUEL PACHECO-MARIN, A/K/A ^
                                                                                                                     '.''^




         (<BEBO LAS FARC,)) A/K/A "MANUEL," A/K/A "CABEZON" and other<

   ,j>*fy taembers ofthe^DTQ', did knowingly and intentionally, combine, conspire, and agree -"/f<-__
    -^


  ^      with each other and with diverse other persons known and unknown, to commit an


         offense against the United States, that is, to knowingly and intentionally possess with


         intent to distribute and/or to distribute controlled substances, to wit: in excess of two


         hundred and eighty (280) grams of a mixture or substance containing a detectable
 ^,
^^J amount ofcocame base (crack), a Schedule II Narcotic Drug Controlled Substance; in


         excess of one (1) kilogram of a nuxture or substance containing a detectable amount

         of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)


         kilograms of a mixture or substarifce containing a detectable amount of cocaine, a


         Schedule II, Narcotic Drug Controlled Substance; in excess of one hundred (100)

         kilograms of a mkture or substance containing a detectable amount of marijuana, a


         Schedule I, Controlled Substance; a mixture or substance containing a detectable

         USAO-DPR-Plea Agreement Page | 17
               Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 18 of 20

                                                               U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




         amount of Oxycodone (commonly known as Percocet), a Schedule II Controlled


         Substance; and a mixture or substance contaming a detectable amount ofAlprazolam


         (commonly known as Xanax), a Schedule IV Controlled Substance; within one


         thousand (1,000) feet of a real property comprising the Villa Kennedy Public Housing

         Project, Las Casas Public Housing Project, El Mu-ador Public Housing Project, Las


         Margaritas Public Housing Project, housing facilities owned by a public housing

         authority and within one thousand (1,000) feet of a real property comprising a public

         or private school and/or playground. All in violation of Title 21, United States Code

         Sections 841(a)(l), 846 and 860.
 ,-i



' || 7.^- The object of the conspiracy was to distribute controlled substances within one


 ^< thousand (1,000) feet of housing facilities owned by a public housing authority in San

^        Juan Puerto Rico, that is, the Villa Kennedy Public Housing Project, Las Casas Public


         Housing Project, El Mu-ador Public Housing Project, Las Margaritas Public Housing


         Project, and in other areas in San Juan Puerto Rico within one thousand (1,000) feet


         of a real property comprising a public or private school and/or playground all for


         significant fmancial gain and profit.


               Defendant [1] EMMANUEL PACHECO-MARIN, A/K/A "BEBO LAS

         PARC," A/K/A "MANUEL," A/K/A "CABEZON" acted as the leader of the

         DTO. As the leader, he maintained control over aU aspects of the drug trafficking


         operations. As the leader, he would give orders regarding the distribution of the


         narcotics, the enforcing of his rules, and would resolve aU disputes that arose in the
         USAO-DPR-Plea Agreement Page] 18
               Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 19 of 20

                                                                 U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




         context of the drug-trafficking operations.


               While multiple kilograms of heroin, cocaine, cocaine base and marijuana were


         distributed during the conspiracy, for purposes of this plea agreement the defendant


/\\ ^ , acknowledges that during the span of the conspiracy he possessed with intent to
< I ^>
  Q j distribute at least 3.5 kilograms but no more than 5 kUograms of cocaine. Defendant
   >
         also admits that, during the course of the conspiracy, he possessed at least one fu-earm


         in furtherance of the drug trafficking carried out by the organization.




                          THIS SPACE INTENTIONALLY LEFT BLANK

                  PLEA AGREEMENT CONTINUES ON FOLLOWING PAGE




         USAO-DPR-Plea Agreement Page | 19
      Case 3:19-cr-00121-SCC Document 2046 Filed 08/09/22 Page 20 of 20

                                                         U.S. v. [1] Emmanuel Pacheco-Marin, 19-121 (SCC)




       At trial, the United States would have proven beyond a reasonable doubt that

defendant [1] EMMANUEL PACHECO-MARIN, A/K/A <<BEBO LAS PARC,"

A/K/A "MANUEL," A/K/A (<CABEZON)> is guUty as charged in COUNT ONE

and COUNT SIX of the Indictment by presenting physical and documentary evidence,

photographs, audio and video recordings, testimony of a forensic chemist as an expert

witness, cooperating witnesses, as well as the testimony of law enforcement agents

among others.


       Discovery was timely made available to Defendant for review.
                                                  ./^.




   ,-. [A'^

Joseph Russell                                     ^Francisco (ReboUo-Casalduc
Assistant U.S, Attorney                            i Counsel for Defendant
Dated: P -^^ 7c.^^                                 j Dated: fi ^ -^ ^


                                                     c-jgj                                 1\

                                                     Emmanuel Pacheco-Marin
                                                    Defendant
                                                    Dated: f? ^ ' l-'i-




USAO-DPR-Plea Agreement                                                                       Page | 20
